5/20/2021                                                 https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl


                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                     Mark Dannels , Cochise County
                                                                     Sheriff; Cochise County Board of
                                                                     Supervisors ; Tony Estrada , Santa
                 Lorenia Buelna ; Sara Babuca Lucero ,               Cruz County Sheriff; Santa Cruz
   Plaintiff(s): Parent of Minor Child "AE"; John      Defendant(s): County Board of Supervisors ; Mark
                 Does 1-10 ; Jane Does 1-10                          Brnovich , Arizona Attorney
                                                                     General; John Does 1-10 ; Jane Does
                                                                     1-10 ; ABC Corporations 1-5 ; XYZ
                                                                     Partnerships 1-5
   County of Residence: Santa Cruz                                             County of Residence: Cochise
   County Where Claim For Relief Arose: Cochise


   Plaintiff's Atty(s):                                                        Defendant's Atty(s):
   Homero Torralba (Lorenia Buelna ; Sara Babuca                               Daryl Audilett (Mark Dannels , Cochise County
   Lucero , Parent of Minor Child "AE"; John Does 1-10 ;                       Sheriff; Cochise County Board of Supervisors ; Tony
   Jane Does 1-10 )                                                            Estrada , Santa Cruz County Sheriff; Santa Cruz
   Foley & Torralba                                                            County Board of Supervisors )
   4400 E. Broadway Blvd., Suite 811                                           Audilett Law PC
   Tucson, Arizona 85711                                                       335 N. Wilmot Suite 500
   520-668-5417                                                                Tucson, Arizona 85711
                                                                               520-748-2440


                                                                               Robert R. McCright , Assistant Attorney General
                                                                               (Mark Brnovich , Arizona Attorney General)
                                                                               Office of the Arizona Attorney General
                                                                               416 W. Congress Street, Second Floor
                                                                               Tucson, Arizona 85701
                                                                               520-628-6504



  REMOVAL FROM COCHISE COUNTY, CASE #CV 202100227

  II. Basis of Jurisdiction:                    3. Federal Question (U.S. not a party)

  III. Citizenship of Principal
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  Parties (Diversity Cases Only)
                            Plaintiff:- N/A
                          Defendant:- N/A

  IV. Origin :                                  2. Removed From State Court

  V. Nature of Suit:                            440 Other Civil Rights

  VI.Cause of Action:                           42 USC § 1983; 8th Amendment; 14th Amendment; Inadequate Training
                                                and Supervision; State Wrongful Death
  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand:
                     Jury Demand: Yes

  VIII. This case is not related to another case.

  Signature: /s/ Daryl Audilett

         Date: 05/20/2021
  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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